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                                                         Exhibit A to the Complaint
Location: Glen Head, NY                                                                                 IP Address: 104.246.116.226
Total Works Infringed: 43                                                                               ISP: Optimum Online
 Work      Hashes                                                                UTC             Site         Published     Registered   Registration
 1         Info Hash: 3669F85A3006C05E56FF6EA10AD9CCFB38832CF5                          09-27-   Vixen        09-23-2022    10-05-2022   PA0002373763
           File Hash:                                                                     2022
           E7DF4377CF4675EA1BD3052A6929C7F61963EB34663B0DD93F7FE58D9EBB1EB7           00:10:13
 2         Info Hash: 6CAE7B0EE559C3AC2EDC84737130E02D757EF9D2                          09-14-   Tushy        09-11-2022    10-05-2022   PA0002373765
           File Hash:                                                                     2022
           94204A2362DE11F90B7958D54A7BB7DDF5F9E266ECBF87E6698CBEAA8B0E9009           22:22:55
 3         Info Hash: 950BCFC49021FB69D63CF67F9B823C075E79C23E                          08-31-   Vixen        08-26-2022    10-05-2022   PA0002373767
           File Hash:                                                                     2022
           734C792C9FF25A3F26A5C1BEAA69FF3DAA0F5960B1291EAD0D737E07BEFD93BC           00:26:32
 4         Info Hash: FB32B86FF67E4A74DC65118E71B00A47B9A7EB38                          08-24-   Tushy        08-21-2022    08-29-2022   PA0002367745
           File Hash:                                                                     2022
           EF798849DDE69AFE7304CF947546FDF6AE6EB7989C2A913A7F5FD89072438971           22:51:10
 5         Info Hash: 57D38984B201F44F8712EBFB996E659BB0298148                          08-24-   Vixen        08-19-2022    08-30-2022   PA0002367752
           File Hash:                                                                     2022
           D83539C6D18437AECC449DBF1FBC2782151D08C938DB1169AEB616391BD7EA15           00:53:12
 6         Info Hash: 5E847CBC42F119F5A41784F1A5E260CC7A1F1817                          08-16-   Vixen        08-12-2022    08-30-2022   PA0002367721
           File Hash:                                                                     2022
           7D63809829222F5A550C37F8FCA01E1B8EAC288612414EDE5EB6C628EAF6534F           04:17:21
 7         Info Hash: 8F141B336124BA3F7373DD51FEDF088BD69A03F9                          08-12-   Vixen        08-05-2022    08-29-2022   PA0002367737
           File Hash:                                                                     2022
           CA43C9F1AD694187DCD7F2E6649BC08724937BD74E0CA7218AC7823DF7A936A9           20:06:39
 8         Info Hash: 5CF4701BD17EF93D509C23AA2C596BC0533C9D35                          08-01-   Vixen        07-29-2022    08-29-2022   PA0002367717
           File Hash:                                                                     2022
           B56DAC116CF48500050C137C439D5CE41E8261370837AD3F4132B35F271BDFBF           23:20:32
 9         Info Hash: A2FF0472396474AF01A302320969630BEE58C703                          07-26-   Vixen        07-22-2022    08-30-2022   PA0002367741
           File Hash:                                                                     2022
           E950273F0BD5906BAE7B71639110DF7EE2018AFC70DFDB96D94A72792FB17A64           01:42:42
 10        Info Hash: 2B8FBAF88AFCE49CF569799FABC99D77157C7917                          07-18-   Vixen        07-15-2022    07-22-2022   PA0002359477
           File Hash:                                                                     2022
           BA647865F9C6F80B469BD9BC64EC18BC828874898DFF2B3AA6D9FECC9D63E7BC           22:01:11
 11        Info Hash: 1D70DD1D5E4504AE762702E5515F25993261D41F                          06-24-   Tushy        06-19-2022    08-10-2022   PA0002370907
           File Hash:                                                                     2022
           BA0577A5EAAB107EFB79126309013C3012B7C4CB5DB883C851E919B3FA215813           02:50:00
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Work   Hashes                                                             UTC         Site    Published    Registered   Registration
12     Info Hash: BCAE36BD550D0F4C0965271CBB33EF2964210809                   06-23-   Vixen   06-17-2022   06-27-2022   PA0002355040
       File Hash:                                                              2022
       49F206B69AA90593C21921BD9C6AD8F86438E594625E8E42CEEB356076985373    18:34:47
13     Info Hash: F2753FE2E59D29D8ACB26350CE4D2DBF4715B1A0                   06-15-   Tushy   06-12-2022   06-27-2022   PA0002354982
       File Hash:                                                              2022
       C61912E4DD2E45DC46042F0453C130FA458F82663D731469874A05919448D87B    22:11:07
14     Info Hash: DE1CF5EBF011112F1FEECC4705DA5EA9DD844034                   06-14-   Vixen   06-10-2022   06-27-2022   PA0002354995
       File Hash:                                                              2022
       F931807CAD9DC7CF2BE0D01B2EEF2BBFED882B0260858DE28FC1161A88C3357B    00:23:33
15     Info Hash: F9827E88E2C8E6F9161E337D751EC646A7C7F1B4                   06-09-   Vixen   06-03-2022   06-27-2022   PA0002354958
       File Hash:                                                              2022
       BCD7702DC88A5350A35E6CA4BD3D4EB66206404244D188AA0B67BEEAF19199C0    19:07:06
16     Info Hash: 97146430EFF51ED7985DD7486A206D7EEC915975                   06-03-   Tushy   05-29-2022   07-21-2022   PA0002368036
       File Hash:                                                              2022
       B65B8F85C0DB527CC504E2840B199B1C630FF6A79B09EDFE29D9396A16E34425    02:43:13
17     Info Hash: CC624B99131D20A815AC7138FEF12826FDE1BB3B                   05-26-   Tushy   05-22-2022   06-27-2022   PA0002355029
       File Hash:                                                              2022
       55443CFF57394DA9C5E24B38F92A1FE43B6539CF45A638197AD61738FD75A065    02:25:11
18     Info Hash: C3165C9404B8279D3BDDBC67F20D233516D461DB                   05-19-   Tushy   05-15-2022   05-20-2022   PA0002350379
       File Hash:                                                              2022
       5DF6E4F919453B3E0ACF4F740FA096B42B912224DC67C95810D17411150C3F86    18:00:48
19     Info Hash: 0D0E9FDCB5474570C8127BF03C05BD35C6F2A7D6                   05-18-   Vixen   05-13-2022   05-20-2022   PA0002350373
       File Hash:                                                              2022
       852E4C256CC2BFED229E9D94F81B180454291D2A66A5E7A28529F82AC3F2FF3F    21:17:58
20     Info Hash: A076115A440597A78B1FCDA2C014EF8826DB0139                   05-15-   Tushy   05-08-2022   05-20-2022   PA0002350382
       File Hash:                                                              2022
       25180046D6C10767F5828EF1D9DF2749B53368D39B97E4225FD9818499717439    13:35:10
21     Info Hash: 66A289A04AE4D4729648FCE2D0ABC42B6B2135AE                   05-15-   Vixen   05-06-2022   05-20-2022   PA0002350383
       File Hash:                                                              2022
       67D2A3CE85DD3A5ADC1FE23B1FB1A90C15A1647094913B09DEB4E4DF74DF568C    02:55:36
22     Info Hash: 74793E870EE1D5183B35935E3F7AF354B3A44407                   05-02-   Vixen   04-29-2022   05-20-2022   PA0002350386
       File Hash:                                                              2022
       5EDC78CC1B640B202D237A31B490B30092384C76DD1CFD68DF02B0A41A4C47DA    21:06:32
23     Info Hash: E5044C340705C68E653525F264547C5210AFCD89                   04-27-   Tushy   04-24-2022   05-20-2022   PA0002350374
       File Hash:                                                              2022
       094536A798B5D33A31D65F4405E40AF93606C9725042CD04FD964B165E9BD263    21:47:08
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Work   Hashes                                                             UTC         Site     Published    Registered   Registration
24     Info Hash: 91EF2E619D8F2158057A223B8B698BE7B3B51F3A                   04-20-   Tushy    04-17-2022   04-23-2022   PA0002346417
       File Hash:                                                              2022
       1FCB784EB7E3072901904AC0713C2403C364470C13B555776AADCB7830437773    23:15:10
25     Info Hash: 3F8F726B3F24D80E30B986EEEAFBB9AC89E11531                   04-14-   Tushy    04-10-2022   04-23-2022   PA0002346425
       File Hash:                                                              2022
       3CA6115AC35966837D6423E1023CEB80DFA9CD716C09D92AA424F6766D2FAB4A    19:22:14
26     Info Hash: 2E35F8C50BF2A449E328387997E8EE5968E9D6D5                   04-14-   Slayed   10-21-2021   11-01-2021   PA0002326406
       File Hash:                                                              2022
       8612029B37AB2C77BAC5F93425BED625AB0A4185DF7775C0EE2B8F003BB9B785    18:39:13
27     Info Hash: 500B18007D8696E0B35D5053E8DFD82BFA02D285                   04-13-   Vixen    04-08-2022   05-20-2022   PA0002350388
       File Hash:                                                              2022
       7C2D3414523579E0731F54BA432EA979B0B5D02C87CDC4101CFF4972C369D619    21:21:50
28     Info Hash: DBAEDD022D65069A73F314DBD734AB0AF25FEC4B                   04-01-   Tushy    03-27-2022   04-23-2022   PA0002346427
       File Hash:                                                              2022
       BAD52C4970ACA7C8E8B5BF7E1C4727C6BA41BC0AC2977D09FD28C0309DF1133D    00:27:37
29     Info Hash: D4F648C5DBDF8425ED4D5D9E4A19C0928FC7D808                   03-29-   Vixen    03-25-2022   04-23-2022   PA0002346420
       File Hash:                                                              2022
       4F66A457FCD27460FCA664F79176D57E1DCA734D7CBBC94B9503A1F533D6AE97    20:26:11
30     Info Hash: 44211E5CC7CB68E1A98D3892E25162BA6D7966CD                   03-17-   Tushy    03-13-2022   03-29-2022   PA0002342866
       File Hash:                                                              2022
       3EE323AC9DA31919F3CEDC069988228CE9DC449E4F56136C5394E9C4C49E8A56    20:46:39
31     Info Hash: 922634E7CFB428C3A8228E645582A62731EC0260                   02-14-   Vixen    02-11-2022   02-14-2022   PA0002335457
       File Hash:                                                              2022
       CE522B18B342B88BE7BD722D82CE0FE16AD188FBEE4A22D8770976E5572527BE    23:05:13
32     Info Hash: F4E88DD4D5E68CA69DE9386D432907B68F0921C3                   02-10-   Tushy    02-06-2022   02-14-2022   PA0002335460
       File Hash:                                                              2022
       350BF3F6FB1A8CC74C1E18A622DA7F117C0DB94CD9293EE1C20CBB29FF7E50C6    18:05:36
33     Info Hash: C77536EBC978CAFA0F6F07741FC96300D3344325                   01-20-   Tushy    01-16-2022   03-04-2022   PA0002345785
       File Hash:                                                              2022
       78A60830AC8A44901C10A0639159F62065466B7B286C026B07DD463B66BCB629    18:45:22
34     Info Hash: C5D52E93767351C8E918FD11407C28228CE8DC45                   01-13-   Tushy    01-09-2022   01-17-2022   PA0002330112
       File Hash:                                                              2022
       13DA3F03BD22B2EF0A2B4D12001D31CE3E1A88A7EDC6A1D2F7DCE52197E862C3    00:19:16
35     Info Hash: 16A48B7A92A444DC78ECE6EEF12C584E71C8518B                   01-10-   Vixen    01-07-2022   01-17-2022   PA0002330115
       File Hash:                                                              2022
       D6B0942D7A010E755C88F46FC028DC1480211AF742A96DB58CAAD66B7C9DDA89    22:04:02
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Work   Hashes                                                             UTC         Site    Published    Registered   Registration
36     Info Hash: D5D957EA513F098AEF8D28D63D0E511AD10F5AE0                   01-04-   Vixen   12-31-2021   01-17-2022   PA0002330094
       File Hash:                                                              2022
       FCA889C717E64AE82BDE078A13DB81E2D3988BDE36B95988E80350628DE162B5    01:17:26
37     Info Hash: 9E14776DB60232E61C4AEB879EC568054BB6476F                   12-29-   Tushy   12-26-2021   02-03-2022   PA0002341847
       File Hash:                                                              2021
       25F7E9FF313011BB71DD178E9DDB22BAB0F2C61A626F760C84A31E3020196B3F    00:45:47
38     Info Hash: 1D26D49A84F60EA8D2A668CC3255CBC054F35BA9                   12-28-   Vixen   12-24-2021   01-17-2022   PA0002330122
       File Hash:                                                              2021
       AD3A01BCB924A9D59D41E8902AD47F44EE783F5F1DD6EB2531D52DB3B18EA612    02:27:45
39     Info Hash: 2C19AA6E15E6386C8BDB715BC853FF75A9BBCACC                   12-22-   Tushy   12-19-2021   02-03-2022   PA0002341852
       File Hash:                                                              2021
       D8D616C49A97884AFDB0EF5411FA0E16E9E1EF3523D961BF7A79EBD4DBE86A96    02:33:24
40     Info Hash: FD07986D65FBA51BFF205EC22B42774AB7F5D9E5                   11-29-   Vixen   11-26-2021   01-07-2022   PA0002337919
       File Hash:                                                              2021
       316BC6707867BB1207B28A163035F4E94D459074F54C3A828301CB9D489BA980    23:54:17
41     Info Hash: 400F5385FDBE01427841AA2B9992BCD5B4BC5FAA                   11-22-   Tushy   11-14-2021   01-07-2022   PA0002337916
       File Hash:                                                              2021
       C2424B04201BE9F5A036D8C3778D4CC1A3C98C9C654B1F922C4ED89415821F02    00:32:40
42     Info Hash: 0EA70C4136D3ED3CC3474160F6A54DA00DA9B732                   11-17-   Vixen   11-12-2021   12-09-2021   PA0002325810
       File Hash:                                                              2021
       5F1E4B5ABBFC4A0B2DD7F46C6414E6B062EDE9E7ECD07E28F56F480D37FB20A6    20:55:03
43     Info Hash: 634B70078E93F75F084A98621D51AFC94191087B                   11-01-   Vixen   10-29-2021   11-11-2021   PA0002321280
       File Hash:                                                              2021
       1D8CF0C11A85F5976211EA195778C57D294BB252C2E7AB41FA72C1711E28256C    20:18:34
